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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

 LIGTEL COMMUNICATIONS, INC.,

                Plaintiff,

         v.                                           Case No. 1:20-cv-00037-HAB-SLC

 BAICELLS TECHNOLOGIES INC.;
 BAICELLS TECHNOLOGIES NORTH
 AMERICA INC.,

                Defendants.


       DECLARATION OF JESSA DEGROOTE IN SUPPORT OF DEFENDANTS’
      RESPONSE IN OPPOSITION TO LIGTEL’S PRE-HEARING MEMORANDUM

 I, Jessa DeGroote, declare under penalty of perjury as follows:

         1.     I am an attorney duly admitted to practice law in this Court. I am an associate

 with the law firm of Ice Miller LLP, counsel for Defendants Baicells Technologies Inc. and

 Baicells Technologies North America Inc. (“Baicells”). I respectfully submit this declaration in

 support of the Defendants’ Memorandum of Law in Opposition to LigTel’s Motion for a

 Preliminary Injunction.

         2.     Attached hereto as Exhibit C is a true and correct copy of an email (LT00534) and

 attachment (LT000535) from Randy Mead to Josh Wentworth regarding “Bai Cells Facts” dated

 October 30, 2019.

         3.     Attached hereto as Exhibit D is a true and correct copy of a thread of emails

 (LT000669-674) between Wentworth and Huawei regarding “Major SR 2393957 – pooled IP

 [WITHHELD] on Ligtel LTE 30-Oct-2013” dated December 2013. For personal privacy

 reasons, the Internet Protocol address has been redacted from this document.




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         4.     Attached hereto as Exhibit E is a true and correct copy of a thread of emails

 (LT001302-1304) between Wentworth and Huawei regarding “I need to identify a customer for

 Law Enforcement (SR 12633877)” dated September 2019. For personal privacy reasons, the

 Internet Protocol address has been redacted from this document.

         5.     Attached hereto as Exhibit F is a true and correct copy of an email (LT000526)

 from Wentworth to Mead regarding “Bai Cells sim cards” dated August 1, 2019.



 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

 correct to the best of my knowledge and belief.


 Executed on April 9, 2020 in Bloomington, Indiana.


                                                      s/ Jessa DeGroote
                                                      Jessa DeGroote, Attorney No. 357487-49

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                  EXHIBIT C
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                   EXHIBIT E
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                   EXHIBIT F
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